Case 0:22-cv-61704-DMM Document 81 Entered on FLSD Docket 05/16/2024 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              Case No.: 22-cv-61704-MIDDLEBROOKS


  NADEJDA JASTRJEMBSKAIA and
  AURORA CRUSIES AND TRAVEL, LLC,
          Plaintiffs,
   vs.
   INCRUISES, LLC, and INGROUP
   INTERNATIONAL, LLC,
          Defendants.
  - - - - - - - - - - - - - - - -I
         ORD ER DENYING PLAINTIFF'S MOTION TO PROCEED PRO SE
                   AND FOR RELIEF UNDER RULE 60(b)(6)

          THIS CAUSE is before this Court upon Plaintiff Nadejda Jastrjembskaia's motion to

   Proceed Pro Se and for relief from my Order denying Plaintiff's Motion for Jurisdictional

   Discovery and Closing the Case (DE 62), filed on May 1, 2024. (DE 79). Defendants have not yet

   responded. For the reasons set forth below, Plaintiff's Motion is denied.

          Plaintiffs initiated this lawsuit on September 9, 2022, against Defendants for alleged

   defamation and other state-law claims. (DE 1). On December 22, 2022, Defendants moved to

   dismiss for lack of personal jurisdiction. (DE 35). I granted the Motion to Dismiss and dismissed

   Plaintiff's Amended Complaint without prejudice. (DE 54). On March 28, 2023, I ordered

   Plaintiffs to show cause as to why this case should not be closed. (DE 55). On March 30, 2023,

   Plaintiffs filed a Motion and supporting memorandum, requesting that the Court grant them leave

   to file a Second Amended Complaint. (DE 56). I denied this Motion for three reasons: first, that

   Plaintiffs had failed to comply with local rules and file a proposed second amended complaint;

   second, that Plaintiffs had not provided any facts to show they planned to establish personal
Case 0:22-cv-61704-DMM Document 81 Entered on FLSD Docket 05/16/2024 Page 2 of 3




  jurisdiction; and third, Plaintiffs' allegation in the alternative that Mr. Hutchinson was a Florida

  resident and subject to general personal jurisdiction would defeat complete diversity and call into

   question this Court's subject matter jurisdiction. (DE 62). On November 6, 2023, PlaintiffNadejda

   Jastrjembskaia filed a "Motion for Leave to Proceed Pro Se and For Relief from Order." (DE 68).

   Plaintiff made arguments for relief under Federal Rules of Civil Procedure 60(b)( 1), 60(b)(2), and

   60(b)(3). I analyzed Plaintiffs arguments and found that they were without merit. Accordingly, I

   denied that Motion. (DE 72).

          Now Plaintiff Jastrjembskaia requests relief under Federal Rule of Civil Procedure

   60(b)(6). Federal Rule of Civil procedure 60(b) permits "a party to seek relief from a final

  judgment, and request reopening of his case, under a limited set of circumstances." Gonzalez v.

   Crosby, 545 U.S. 524, 528 (2005). Rule 60(b)(6) is a catch all provision that allows a court to

   relieve a party from a final judgment for "any other reason that justifies relief." A movant seeking

   relief under Rule 60(b)(6) is required to show "'extraordinary circumstances' justifying the

   opening of a final judgment." Gonzalez v. Crosby, 545 U.S. 524, 535 (2005) (quoting Ackermann

   v. United States, 340 U.S. 193, 199 (1950)). Plaintiff argues that relief is warranted due to the posts

   and publicity about the lawsuit that she claims are still being perpetuated by Defendants against

   her on social media, Which are affecting her health and well-being.




                                                     2
Case 0:22-cv-61704-DMM Document 81 Entered on FLSD Docket 05/16/2024 Page 3 of 3




         I have considered Plaintiff Jastrjembskaia's motion and the record in this matter, and I do

  not find that Plaintiff has made the requisite showing of extraordinary circumstances required for

  relief under this rule. Accordingly, it is hereby ORDERED AND AD.TTJGED that Plaintiff

  Nadejda Jastrjembskaia's Motion Requesting Relief from Final Judgment Under Federal Rules of

   Civil Procedure Rule 60(b)(6) (DE 79) is DENIED.

         SIGNED in Chambers at West Palm beach, Florida this




                                                      D ALD M. MIDDLEBROOKS
                                                      UNITED STATES DISTRICT JUDGE




                                                  3
